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                           United States District Court
                                  EASTERN DISTRICT OF TEXAS
                                      SHERMAN DIVISION


    UNITED STATES OF AMERICA ex rel.             §
    JEAN-MARC EICHNER and BRANDON                § Civil Action No. 4:19cv524
    LOYD and JEAN-MARC EICHNER AND               § Judge Mazzant
    BRANDON LOYD, Individually                   §
                                                 §
    v.                                           §
                                                 §
    OCWEN LOAN SERVICING, LLC, et al.            §

                                  ORDER SETTING TRIAL

.         The Court hereby specially sets the Jury Selection and Jury Trial of this case for

    Monday, February 2, 2026, at 10:00 a.m. at the Paul Brown United States Courthouse, 101

    E. Pecan Street, Sherman, Texas 75090.

          IT IS SO ORDERED.
           SIGNED this 8th day of April, 2025.




                                       ___________________________________
                                       AMOS L. MAZZANT
                                       UNITED STATES DISTRICT JUDGE
